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                                                                                                       E-FILED
                                                                    Tuesday, 27 October, 2020 09:39:42 AM
                                                                              Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O’NEAL, N-53022,                        )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )      Case No. 18-4063-SEM-TSH
                                      )
MANUEL ROJAS, et al.,                         )
                                              )
        Defendants.                           )

                DEFENDANTS’ REPLY TO PLAINTIFF’S RESPONSE TO
                      MOTION FOR SUMMARY JUDGMENT

       NOW COME Defendants, MANUEL ROJAS, STEPHANIE DORETHY, FREDDIE

BRITTON, JOHN FROST, STEVE GANS, MELISSA PELKER, and JOHN BALDWIN, by and

through their attorney, KWAME RAOUL, Attorney General of the State of Illinois, pursuant to

Local Rule 7.1(D)(3), and hereby reply to Plaintiff’s response to Defendants’ motion for summary

judgment [Doc. 129], stating as follows:

                                          INTRODUCTION

       On July 20, 2020, Defendants filed a motion for summary judgment. [Doc. 121]. In their

motion, Defendants argued that they are entitled to summary judgment as to Plaintiff’s four claims:

1) A First Amendment claim regarding Plaintiff’s right to practice his religion; 2) A Fourteenth

Amendment equal protection claim; 3) A retaliation claim against Defendant Rojas; and 4) A

Religious Land Use and Institutionalized Persons Act claim. On September 18, 2020, Plaintiff

filed his response to Defendants’ motion, through which Plaintiff seeks to preclude summary

judgment by raising issues of fact. [Doc. 129]. However, any factual disputes raised by Plaintiff in

his response are immaterial to Defendants’ motion. Accordingly, Defendants’ motion for summary

judgment should be granted.



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    DEFENDANTS’ RESPONSE TO PLAINTIFF’S RESPONSE TO THE UNDISPUTED
         FACTS IN DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT1




        Response: This statement is material and undisputed.




1
  Although the statements of fact to which Defendants here respond appear in a section of Plaintiff’s
response to Defendants’ motion for summary judgment [Doc. 129], entitled “Response to Undisputed
Material Facts,” these statements by Plaintiff do not actually appear to align with the Undisputed Material
Facts listed in Defendants’ motion for summary judgment, [Doc. 121].
                                                                                                          2
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Response: This statement is immaterial and disputed. Although Defendants dispute

Plaintiff’s accusation, this is immaterial in that it merely accuses the Assistant

Attorney General previously handling this matter of making a certain representation

off the record, prior to Plaintiff’s deposition. Particularly if Plaintiff never ate meat

on a Friday during the relevant time period, Plaintiff cannot 1) show that his religious

practice was substantially burdened; 2) show that Defendants intentionally and

                                                                                       3
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purposefully discriminated against him; 3) establish a causal connection between

alleged adverse actions by Defendant Rojas and alleged protected activity; or 4) show

that he is entitled to injunctive relief—the four arguments Defendants make in their

motion for summary judgment. [Doc. 121].




Response: This statement is immaterial and disputed. Although Defendants dispute

Plaintiff’s suggestion, this is immaterial in that it again merely accuses the Assistant

Attorney general previously handling this matter of making false representations off

the record, prior to the deposition, without stating facts or citing evidentiary support,

in compliance with CDIL-LR 7.1(D)(2). Additionally, in the previous paragraph, No.

2, Plaintiff asserts that he has always abstained from eating meat on Fridays, whereas

here he contends the diametric opposite. Thus, at least one of these paragraphs must

contain false statements by Plaintiff.




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Response: This statement is immaterial and disputed. Although Defendants dispute

Plaintiff’s suggestion, this is immaterial in that it merely states a legal argument

unsupported by applicable precedent, and without stating facts or citing evidentiary

support, in compliance with CDIL-LR 7.1(D)(2). Further, Defendants demonstrate in

their motion, that Defendants are entitled to summary judgment as a matter of law.

[Doc. 121]. This conclusory statement fails to contradict any of Defendants’ stated

undisputed material facts. [Doc. 121, UMF].




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Response: This statement is immaterial and undisputed. Defendants do not contend

that abstinence from meat on Fridays during Lent is merely trivial and unessential to

Plaintiff’s Catholic faith. Plaintiff’s statement that he purchases food products twice

per month fails to create a factual dispute. Defendants have acknowledged that

Plaintiff purchases food items regularly, and incorporates these purchased items as

part of his diet.




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Response: This statement is immaterial and undisputed. Defendants do not contend

that abstinence from meat on Fridays during Lent is merely trivial and unessential to

Plaintiff’s Catholic faith. Plaintiff’s statement that he purchases food products twice

per month fails to create a factual dispute. Defendants have acknowledged that

Plaintiff purchases food items regularly, and incorporates these purchased items as

part of his diet.




Response: This statement is immaterial and undisputed. Defendants do not contend

that abstinence from meat on Fridays during Lent is merely trivial and unessential to

Plaintiff’s Catholic faith. Plaintiff’s statement that he purchases food products twice

per month fails to create a factual dispute. Defendants have acknowledged that

Plaintiff purchases food items regularly, and incorporates these purchased items as

part of his diet.




Response: This statement is immaterial and undisputed. Defendants do not contend

that abstinence from meat on Fridays during Lent is merely trivial and unessential to

Plaintiff’s Catholic faith. Plaintiff’s statement that he purchases food products twice

per month fails to create a factual dispute. Defendants have acknowledged that

Plaintiff purchases food items regularly, and incorporates these purchased items as

part of his diet.




Response: This statement is immaterial and undisputed. Defendants do not contend

that abstinence from meat on Fridays during Lent is merely trivial and unessential to
                                                                                     7
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Plaintiff’s Catholic faith. Plaintiff’s statement that he purchases food products twice

per month fails to create a factual dispute. Defendants have acknowledged that

Plaintiff purchases food items regularly, and incorporates these purchased items as

part of his diet.




Response: This statement is immaterial and disputed. Defendants dispute Plaintiff’s

assertion that meatless meals have not been provided to Catholic offenders on Fridays

since he arrived at Hill. In their motion for summary judgment, Defendants point

to numerous examples of the availability of meatless food products at Hill

Correctional Center during Plaintiff’s time at the facility. [Doc. 121, UMF 4, 6, 8, 10,

11, 12]. In addition to offenders having the opportunity to purchase meatless food

products from the comissary, meatless meals have been provided to offenders by the

facility, in order to accommodate participation in Lent. [Doc. 121, UMF 4, 6, 8, 10,

11, 12].   This statement is immaterial because fails to create an actual dispute.

Instead, Plaintiff merely attempts to mischaracterize undisputed material facts in

Defendants’ motion as admissions that meatless meals have not been available at the

facility. On the contrary, that is simply not what the record actually reflects.




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Response: This statement is immaterial and disputed. Plaintiff states that Defendants

assert that attendance of Cursillo and Ultreya is determined on a first-come-first-

serve basis, and that an offender may attend the monthly Ultreya service until he is

transferred to segregation or from the facility entirely. Plaintiff further asserts that

thirty volunteers are not needed to conduct an Ultreya service. Because these

statements do not actually contradict Defendants’ undisputed material facts, these

statements are immaterial.

       To the extent that Plaintiff may raise a factual dispute by contending that

attendance is determined on a first-come-first-serve basis, the dispute lacks

materiality. Defendants assert that attendance largely depends on who has already

been able to attend the services, in order to give new offenders an opportunity to

attend. [Doc. 121, UMF 24-26].       Regardless of the reason, neither Defendants’

version nor Plaintiff’s constitutes a retaliatory or purposefully discriminatory policy,

rendering this statement immaterial to Defendants’ motion.         Additionally to the

extent that Plaintiff intends his assertion that thirty volunteers are not needed for

Ultreya to constitute a material dispute, Defendants only assert that for Cursillo

specifically, there may be as many as thirty volunteers. [Doc. 121, UMF]. Therefore,

there is no actual dispute here, as these respective assertions pertain to different

ceremonies.




                                                                                     10
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Response: This statement is immaterial and disputed. Defendant Rojas asserts that

when unable to attend a service due to excessive numbers, Plaintiff “could obtain

copies of the paperwork distributed at Cursillo and Ultreya.” [Doc. 121, UMF 30].

Here, Plaintiff asserts that Defendant Rojas failed to ensure that Plaitniff received

such paperwork. To the extent that this distinction constitutes a factual dispute, the

dispute lacks materiality because Plaintiff does not contend that he actually could not

obtain such copies. Thus, Plaintiff fails to establish that he has been unable to access

the paperwork in order to practice his religion.




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Response: This statement is immaterial and disputed. Plaintiff asserts that offenders

may not dictate administrative policy to shift commanders with respect to offenders’

attendance at services. Although that is correct, to the extent that Plaintiff here

attempts to suggest that offenders may not request to attend services, Defendants

dispute this. However, as discussed in Defendants’ undisputed material facts and

argument, the matter is nuanced and depends on demand by other offenders, as well

as whether an offender has already attended the services. [Doc. 121]. Moreover,

Plaintiff cites portions of Defendants’ motion to support his statement, but the

portions he cites do not state this, as his citations suggest. [Doc. 121, UMF 26-28, 30-

36; Ex. 3, ¶ 12-14, 16-22].




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Response: This statement is immaterial and disputed. Plaintiff asserts in a conclusory

manner that Defendants failed to follow IDOC protocol, but if they had followed

protocol, Plaintiff would have been able to practice his religion freely. Plaintiff cites

several administrative policies, but fails to state specific actions by Defendants that

violate these policies. Thus, although Defendants dispute that they violated any

policies, this statement is immaterial because Plaintiff does not raise any disputes as

to any undisputed material facts contained in Defendants’ motion. [Doc. 121, UMF].




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Response: This statement is immaterial and disputed. Plainitff raises an objection to

the fact that Defendant Dorethy had signatories execute certain documents on her

behalf, but he fails to show how Defendant Dorethy personally prevented him from

practicing his religion. Moreoever, this meandering and inchoherent statement fails

to address any of Defendants’ undisputed material facts, instead citing Defendant

Britton’s response to one of Plaintiff’s requests for admission. Thus, although

Defendants dispute Plaintiff’s apparent conclusion that he was somehow unable to

practice his religion, the statement lacks materiality with respect to Defendants’

motion—and Defendants’ statements of material facts. [Doc. 121, UMF and

Argument].




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Response: This statement is immaterial and disputed. Plaintiff asserts that he did not

have access to meatless meals three times each day he wished to abstain from meat.

Plaintiff then presents several numbers, apparently to quantify his suffering.

Although Defendants dispute Plaintiff’s calculations, they are immaterial because

Defendants do not move for summary judgment on the basis that Plaitniff was served

three meatless meals every day he wished to receive them. [Doc. 121, UMF and

Argument]. With respect to Plaintiff’s accusation that the deposition transcript

falsifies his actual testimony, he provides no basis for this accusation, except that he
                                                                                     15
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       presumably understands that his testimony was adverse to his interests. Further,

       the Court has already denied Plaintiff’s motion to set aside his deposition, [Doc. 133],

       in which he baselessly accuses Defendants and the court reporter of falsifying his

       testimony. [Text Order – October 22, 2020].




       RESPONSE: Defendants incorporate their responses to Plaintiff’s undisputed

       material facts, as stated in Defendants’ Response to Plaintiff’s Motion for Summary

       Judgment, filed on July 20, 2020. [Doc. 122].



                                          ARGUMENT

       Plaintiff’s response to Defendants’ motion for summary judgment provides no basis for the

Court to deny Defendants’ motion. As discussed supra, many of the statements Plaintiff offers as

factual disputes lack materiality to Defendants’ arguments demonstrating their entitlement to

summary judgment based on the facts of record. Further, in the argument section of his response,

Plaintiff offers statements of law that relate to the facts of this case in a general sense. However,

none illustrate a legal basis for denying Defendants’ motion.




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       WHEREFORE, for the reasons stated above, Defendants respectfully request this

Honorable Court grant Defendants’ motion for summary judgment.

                                             Respectfully submitted,

                                            MANUEL ROJAS, STEPHANIE DORETHY,
                                            FREDDIE BRITTON, JOHN FROST, STEVE
                                            GANS, MELISSA PELKER, and JOHN
                                            BALDWIN,

                                                       Defendants,

                                              KWAME RAOUL, Illinois Attorney General,

                                                       Attorney for Defendants,


Philip Andrews, #6329386                    By: s/ Philip Andrews__________
Assistant Attorney General                       Philip Andrews
500 South Second Street                          Assistant Attorney General
Springfield, IL 62701
(217) 557-0261 Phone
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O’NEAL, N-53022,                        )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )         Case No. 18-4063-SEM-TSH
                                      )
MANUEL ROJAS, et al.,                         )
                                              )
        Defendants.                           )

                                CERTIFICATE OF SERVICE

        I hereby certify that on October 27, 2020 the foregoing document, Defendants’ Reply to
Plaintiff’s Response to Motion for Summary Judgment, was electronically filed with the Clerk of
the Court using the CM/ECF system which will electronically send notice to:
        None
and I hereby certify that on the same date, I caused a copy of the foregoing described document
to be mailed by United States Postal Service, in an envelope properly addressed and fully
prepaid, to the following non-registered participant:
        Aaron O’Neal, N-53022
        Hill Correctional Center
        P.O. Box 1700
        Galesburg, IL 61401

                                                        Respectfully submitted,

                                                        s/Philip Andrews_______________
                                                        Philip Andrews, #6329386
                                                        Assistant Attorney General
                                                        500 South Second Street
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